UNITED STATES DISTRICT COURT                                              
SOUTHERN DISTRICT OF NEW YORK                                             
RUTH K. SPOONER,                                                          
              Plaintiff,                                             
                                      24-CV-8621 (LTS)               
        -against-                                                    
                             ORDER DIRECTING PAYMENT OF FEES         
                              OR IFP APPLICATION AND PRISONER        
ROSE M. SINGER CENTER; DEPARTMENT                                         
                                      AUTHORIZATION                  
OF CORRECTIONS,                                                           
              Defendants.                                            
LAURA TAYLOR SWAIN, Chief United States District Judge:                   
Plaintiff, who is currently detained at the Rose M. Singer Center on Rikers Island, brings 
this action pro se. To proceed with a civil action in this Court, a prisoner must either pay $405.00 
in fees – a $350.00 filing fee plus a $55.00 administrative fee – or, to request authorization to 
proceed in forma pauperis (“IFP”), that is, without prepayment of fees, submit a signed IFP 
application and a prisoner authorization. See 28 U.S.C. §§ 1914, 1915. If the Court grants a 
prisoner’s IFP application, the Prison Litigation Reform Act requires the Court to collect the 
$350.00 filing fee in installments deducted from the prisoner’s account.1 See 28 U.S.C. 
§ 1915(b)(1). A prisoner seeking to proceed in this Court without prepayment of fees must 
therefore authorize the Court to withdraw these payments from his account by filing a “prisoner 
authorization,” which directs the facility where the prisoner is incarcerated to deduct the $350.00 
filing fee from the prisoner’s account in installments and to send to the Court certified copies of 
the prisoner’s account statements for the past six months. See 28 U.S.C. § 1915(a)(2), (b). 

1 The $55.00 administrative fee for filing a civil action does not apply to persons granted 
IFP status under 28 U.S.C. § 1915.                                        
Plaintiff submitted the complaint without the filing fees or a completed IFP application 
and prisoner authorization. Within thirty days of the date of this order, Plaintiff must either pay 
the $405.00 in fees or submit the attached IFP application and prisoner authorization forms. If 
Plaintiff submits the IFP application and prisoner authorization, they should be labeled with 
docket number 24-CV-8621 (LTS).2                                          

No summons shall issue at this time. If Plaintiff complies with this order, the case shall be 
processed in accordance with the procedures of the Clerk’s Office. If Plaintiff fails to comply 
with this order within the time allowed, the action will be dismissed.    
The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would 
not be taken in good faith, and therefore IFP status is denied for the purpose of an appeal. Cf. 
Coppedge v. United States, 369 U.S. 438, 444–45 (1962) (holding that appellant demonstrates 
good faith when seeking review of a nonfrivolous issue).                  
SO ORDERED.                                                               
Dated:  November 19, 2024                                                 
 New York, New York                                                  

                              /s/ Laura Taylor Swain                 
                                  LAURA TAYLOR SWAIN                 
                                Chief United States District Judge   




2 Plaintiff is cautioned that if a prisoner files a federal civil action that is dismissed as 
frivolous or malicious, or for failure to state a claim on which relief may be granted, the 
dismissal is a “strike” under 28 U.S.C. § 1915(g). A prisoner who receives three “strikes” cannot 
file federal civil actions IFP as a prisoner, unless she is under imminent danger of serious 
physical injury, and must pay the filing fees at the time of filing any new action. 